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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  AMERICAN SENIOR COMMUNITIES, L.L.C.,               )
                                                     )
                Plaintiff,                           )
                                                     )
         v.                                          )     Case No. 1:17-cv-3273-TWP-DML
                                                     )
  JAMES BURKHART, et al.,                            )
                                                     )
                Defendants.                          )


                                            ORDER

         This matter comes before the Court on Attorneys’ David J. Carr, Paul C. Sweeney, and

  Stephanie C. Courter, Motion for Withdrawal of Appearances as to Defendants Bright HVAC

  LLC, BTS Solutions LLC, BTS Ventures LLC d/b/a Best Choice, Cardinal Distribution LLC,

  Finite Capital LLC d/b/a Healthcare by Design, Force Holding Company, LLC, Indiana Uniform

  Company LLC, Med-Healthline Supply LLC, and Oregon Properties LLC (collectively,

  “Corporate Ganote Defendants”). The Court, having considered the same, hereby finds that said

  motion should be GRANTED. The appearances of David J. Carr, Paul C. Sweeney, and

  Stephanie C. Courter, all of ICE MILLER LLP, are hereby WITHDRAWN from the record as

  to the Corporate Ganote Defendants.

         So ORDERED.

         Date: 3/27/2019                       ____________________________________
                                                  Debra McVicker Lynch
                                                  United States Magistrate Judge
                                                  Southern District of Indiana
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  Force Holding Company, LLC
  Med-Healthline Supply LLC
  Oregon Properties LLC
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